                   Case 19-12220-KBO            Doc 153        Filed 12/16/19        Page 1 of 4



                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

    In re:

    Yueting Jia1                                            Chapter 11

                     Debtor.                                Case No. 19-12220 (KBO)

                                                            Re: Doc Nos. 89, 111




    JOINDER OF SHANGHAI LEYU CHUANGYE INVESTMENT MANAGEMENT
      CENTER LP TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
 RESPONSE TO SHANGHAI LAN CAI ASSET MANAGEMENT CO, LTD.’S MOTION
(I) TO DISMISS THE DEBTOR’S CHAPTER 11 CASE OR, ALTERNATIVELY, (II) TO
        TRANSFER VENUE TO THE CENTRAL DISTRICT OF CALIFORNIA


             Shanghai Leyu Chuangye Investment Management Center LP (“Shanghai Leyu”),

creditor and party in interest in the above-captioned case, by and through its undersigned

counsel, hereby joins in the Response of the Official Committee of Unsecured Creditors (the

“Committee”) to Shanghai Lan Cai Asset Management Co, Ltd.’s (“Lan Cai”) Motion (i) to

Dismiss the Debtor’s Chapter 11 Case or, Alternatively, (ii) to Transfer Venue to the Central

District of California (the “Objection”) filed by the Committee on December 5, 2019 [Doc. No.

111].

             Shanghai Leyu agrees with and supports the Objection, and incorporates the arguments

set forth in it as though fully set forth herein. Accordingly, for the reasons set forth in the

Objection, Shanghai Leyu requests that Lan Cai’s Motion to Dismiss be denied and for such

other and further relief as the Court deems proper.




1
 The last four digits of the Debtor’s federal tax identification number is 8972. The Debtor’s mailing address is 91
Marguerite Drive, Rancho Palos Verdes, CA 90275.
            Case 19-12220-KBO   Doc 153   Filed 12/16/19     Page 2 of 4



Dated: December 16, 2019

                                   Respectfully submitted,


                                   AUSTRIA LEGAL, LLC

                                   /s/ Matthew P. Austria
                                   Matthew P. Austria (No. 4827)
                                   1007 N. Orange Street, 4th Floor
                                   Wilmington, DE 19801
                                   Telephone: (302) 521-5197
                                   Facsimile: (302) 425-0232
                                   E-mail: maustria@austriallc.com

                                   BALLON STOLL BADER & NADLER, P.C.
                                   Vincent J. Roldan
                                   729 Seventh Avenue – 17th Floor
                                   New York, NY 10019
                                   212.575-7900
                                   Fax 212.764-5060
                                   vroldan@ballonstoll.com

                                   GRANDALL & PARTNERS CONSULTING LLC
                                   Wenjie Sun
                                   729 Seventh Avenue – 17th Floor
                                   New York, NY 10019
                                   347.822.4391
                                   sunwenjie@grandall.com.cn

                                   Shanghai Leyu Chuangye Investment Management
                                   Center LP
               Case 19-12220-KBO            Doc 153      Filed 12/16/19       Page 3 of 4




                                     CERTIFICATE OF SERVICE

        I, Matthew P. Austria, hereby certify that on the 16th day of December, 2019, I caused a true and

correct copy of the foregoing Joinder of Shanghai Leyu Chuangye Investment Management Center LP to

Official Committee of Unsecured Creditors’ Response to Shanghai Lan Cai Asset Management Co, Ltd.’s

Motion (i) to Dismiss the Debtor’s Chapter 11 Case or, Alternatively, (ii) to Transfer Venue to the Central

District of California to be served on the following parties in the manner indicated below as well as on all

parties receiving service through the Electronic Case Filing (ECF) system via electronic mail in this case:

 VIA EMAIL                                             VIA EMAIL
 Pachulski Stang Ziehl & Jones LLP                     O’Melveny & Myers LLP
 Richard M. Pachulski                                  Suzzanne Uhland
 James E. O’Neill                                      Diana M. Perez
 919 North Market Street, 17th Floor                   Times Square Tower, 7 Times Square
 Wilmington, Delaware 19801                            New York, NY 10036
 rpachulski@pszjlaw.com                                suhland@omm.com
 jo’neill@pszjlaw.com                                  dperez@omm.com


 VIA EMAIL                                             VIA EMAIL
 United States Trustee                                 Potter Anderson & Corroon LLP
 David L. Buchbinder                                   Christopher M. Samis
 844 King Street, Suite 2207                           L. Katherine Good
 Lockbox 35                                            Aaron H. Stulman
 Wilmington, DE 19801                                  1313 N. Market Street, 6th Floor
 David.L.Buchbinder@usdoj.gov                          Wilmington, Delaware 19801-3700
                                                       Email: csamis@potteranderson.com
                                                       Email: kgood@potteranderson.com
                                                       Email: astulman@potteranderson.com
 VIA EMAIL
 Lowenstein Sandler LLP
 Andrew Behlmann, Esq.
 Jeremy D. Merkin, Esq.
 Jeffrey D. Prol, Esq.
 One Lowenstein Drive
 Roseland, NJ 07068
 Email: abehlmann@lowenstein.com
 Email: jmerkin@lowenstein.com
 Email: jprol@lowenstein.com
            Case 19-12220-KBO   Doc 153   Filed 12/16/19   Page 4 of 4




Dated: December 16, 2019           AUSTRIA LEGAL, LLC

                                   /s/ Matthew P. Austria
                                   Matthew P. Austria (No. 4827)
